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                     1   ALAN R. SMITH, ESQ. #1449
                         HOLLY E. ESTES, ESQ. #11797
                     2   Law Offices of Alan R. Smith
                         505 Ridge Street                                                        ELECTRONICALLY FILED
                     3   Reno, Nevada 89501                                                         June 23, 2014
                         Telephone (775) 786-4579
                     4   Facsimile (775) 786-3066
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                     5   Attorney for Debtors
                         ANTHONY THOMAS and WENDI
                     6   THOMAS and AT EMERALD, LLC
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                     8
                     9                                    UNITED STATES BANKRUPTCY COURT
                 10                                                      DISTRICT OF NEVADA
                 11                                                                 —ooOoo—
                 12      In Re:                                                         Case No. BK-N-14-50333-BTB
                                                                                        Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and
                         WENDI THOMAS,                                                  Chapter 11 Cases
                 14
                                                                                        [Jointly Administered]
                 15      AT EMERALD, LLC,
                                                                                        DECLARATION OF ALAN R. SMITH
                 16                                                                     IN SUPPORT OF EX PARTE MOTION
                                                                                        FOR ORDER SHORTENING TIME
                 17                                                                     FOR NOTICE AND HEARING ON
                                              Debtors,                                  MOTION TO SELL ASSETS FREE
                 18                                                                     AND CLEAR OF LIENS AND
                                                                                        MOTION TO FILE PURCHASE AND
                 19                                                                     SALE AGREEMENT UNDER SEAL
                 20                                                                     Hearing Date: OST Pending
                                                                                        Hearing Time: OST Pending
                 21      ______________________________/
                 22                I, ALAN R. SMITH, hereby declare under penalty of perjury that the following
                 23      assertions are true:
                 24                1. I am the court appointed general counsel for the Debtor in the above-captioned
                 25      Chapter 11 case. I have personal knowledge of the facts herein stated, and if called to testify
                 26      as to such facts I would and could do so competently.
                 27                2.     I have caused to be filed today an Ex Parte Motion For Order Shortening Time
                 28      For Notice and Hearing on Motion To Sell Assets Free And Clear Of Liens And Motion To
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\AT Emerald\Mot Sell\Decl ARS MOST Mot Sell 062014-dlg.wpd
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                     1   File Purchase And Sale Agreement Under Seal. The reason for the request to shorten time
                     2   is set forth in the Ex Parte Motion, and is adopted in this Declaration.
                     3             3. Pursuant to the Motion To Sell Assets Free And Clear Of Liens And Motion To
                     4   File Purchase And Sale Agreement Under Seal, the Debtor seeks an order authorizing the
                     5   immediate the sale of Debtor’s asset, a 21,000 carat emerald. Ordinary notice requirements
                     6   cannot be met without an order shortening time for a hearing to approve the immediate sale.
                     7   Debtor requests that the motion be heard within seven days of the filing of the Motion as
                     8   required by the Purchase And Sale Agreement.
                     9             DATED this 23rd day of June, 2012.
                 10
                                                                                        By:     /s/ Alan R. Smith
                 11                                                                       ALAN R. SMITH, ESQ.
                                                                                          Attorney for Debtors
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